Case 2:03-CV-02535-dkv Document 49 Filed 06/15/05 Page 1 of 3 Page|D 70

 

IN THE UNITED sTATEs DISTRICT couRT HI‘ED nw z“`o'(""
FoR THE wEsTERN DISTRICT oF TENNESSEE M

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JANETTE BLACKSHEAR, Wn.i cJ?-¢L'a\s, aqu

Plaintiff,
5
vs. No. 03-25,€5-1/1&

SHELBY COUNTY HEALTH CARE CORP.
d/b/a THE REGIONAL MEDICAL
CENTER AT MEMPHIS,

Defendant.

 

ORDER AMEND ING SCHEDULE

 

Pursuant to plaintiff's May l3, 2005, motion to set new
deadlines in this matter, the court held a status conference on
May 31, 2005. Attending on behalf of the plaintiff was Kathleen
Caldwell. Participating on behalf of the defendant were David
Jaqua and Jessica Neal. For good cause shown, the court grants

the motion and amends the schedule as follows:

l. The deadline for completing mediation is July 15, 200

2. The deadline for completing discovery is August 31,
2005.

3. The deadline for filing potentially dispositive motions

is September 30, 2005.

4, The parties will submit a joint proposed pretrial order
by 5:00 p.m. on December 30, 2005.

5. A pretrial conference will be held on Friday, January

6, 2006, at 10:30 a.m.

With Rule 58 and/cr 79{3) FHCF* on (€ " /=‘ §’05

Th€s document entered on the docket Sheet in comp!iance /7£[])

Case 2:03-CV-02535-dkv Document 49 Filed 06/15/05 Page 2 of 3 Page|D 71

6. The jury trial is reset to Tuesday, January 17, 2006,

at 9:30 a.m. and is expected to take 2 to 3 days.

Absent good cause, the amended schedule set by this order
will not be modified or extended.

So ORDERED this /qhk day of Juner 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:03-CV-02535 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Kathleen L. Caldwell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

Memphis7 TN 38104

David P. J aqua

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

Memphis7 TN 38119

Honorable Samuel Mays
US DISTRICT COURT

